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                                   STATEMENT OF FACTS

        Your affiant, Matthew J. Deurmeier, is a Special Agent with the Federal Bureau of
Investigation (FBI) assigned to the Bozeman Resident Agency in Bozeman, Montana. Currently,
I am a tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of violations of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 17, 2021, ProPublica, a self-proclaimed non-profit news organization, posted
an article online titled “What Parler Saw During the Attack on the Capitol” at
https://projects.propublica.org/parler-capitol-videos/. The website contained multiple videos
obtained from the social media application Parler that were posted by users in and around the U.S.
Capitol on January 6, 2021. Those videos were categorized by location and time. As a result of
the videos posted on that website, law enforcement obtained investigative leads regarding a white
male in one of the videos wearing a camouflage-colored baseball cap that read “Tactical Citizen.”

       Due to the unique name on the baseball cap, open source searches revealed that “Tactical
Citizen” appears to be a company based in Belgrade, Montana. According to the company’s social
media accounts, the company was founded and owned by Andrew Cavanaugh. The company’s
Instagram account features images of a white male, wearing a hat similar to the one in the
ProPublica video, identified himself as “Andrew” and stated he was at the Tactical Citizen
headquarters in Belgrade.

        After receiving the investigative lead regarding the individual wearing the Tactical Citizen
baseball cap, your affiant reviewed the Parler video in which it was alleged Cavanaugh appeared
and observed that the person taking the video from their mobile device was walking in the direction
of the Small House Rotunda on the first floor of the U.S Capitol. As the person is walking, he
pans across the people in front of him while yelling loudly “Where are the fucking traitors at?
Drag them out by their fucking hair!” As he speaks, the white male wearing the Tactical Citizen
baseball cap, replies off camera, “Yeah!” The individual in the Tactical Citizen hat is also wearing
a dark-colored hooded sweatshirt with white printing on the front, a black leather jacket, and is
holding a bottle of water and a cell phone. A screen capture of the Parler video showing the
individual in the Tactical Citizen hat is below:




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        A review of Cavanaugh’s Facebook account further revealed that Cavanaugh was “tagged”
in a photograph posted by Aaron Kyle Sanders on January 8. The photograph shows Cavanaugh
and the person believed to be Sanders in the same vehicle. Cavanaugh is wearing the Tactical
Citizen baseball cap and a dark blue-hooded sweatshirt with a logo in white letters on the front for
the National Institutes of Health. The background of the photograph, outside of the vehicle,
appears to be an entrance to an airport. A screen capture of Sanders’s post is below:




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        Your affiant submits there is also probable cause to believe that ANDREW MICHAEL
CAVANAUGH violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully
and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.


                                                    _________________________________
                                                    Matthew J. Deurmeier, Special Agent
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 1th day of March 2021.
                                                                            Zia M. Faruqui
                                                                            2021.03.15 16:41:40
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                                                      ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE




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